                             Hearing Date and Time: December 9, 2021 at 11:00 a.m. (prevailing Eastern Time)


Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Jason S. Pomerantz, Esq. (Admitted pro hac vice )
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Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :              Chapter 11
                                                               :
ROCHESTER DRUG                                                 :              Case No. 20-20230 (PRW)
CO-OPERATIVE, INC. 1                                           :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


              NOTICE OF OBJECTION ON LIQUIDATING TRUSTEE’S
       FIRST OMNIBUS OBJECTION TO DUPLICATE CLAIMS FILED AGAINST
                   ROCHESTER DRUG CO-OPERATIVE, INC.

        PLEASE TAKE NOTICE that on November 1, 2021, Advisory Trust Group, LLC, the

trustee (the “Liquidating Trustee”) of the RDC Liquidating Trust filed its First Omnibus

Objection to Duplicate Claims Filed Against Rochester Drug Co-Operative, Inc. (the

“Objection”). Pursuant to the Objection, the Liquidating Trustee seeks an order disallowing and

expunging each of the Objectionable Claims listed on Exhibit A to this Notice on the grounds

that each such Objectionable Claim is substantively duplicative of another proof of claim filed by

or on behalf of the same claimant.


1
 On February 26, 2021, the Bankruptcy Court entered an order (the “Confirmation Order”) confirming the Second
Amended Chapter 11 Plan of Liquidation (the “Plan”) of Rochester Drug Co-operative, Inc. (“RDC” or the
“Debtor’), which (along with that certain Liquidating Trust Agreement and Declaration of Trust) established the
RDC Liquidating Trust and empowered it to collect and administer RDC’s assets and resolve claims against RDC.


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        PLEASE TAKE FURTHER NOTICE that a hearing on the Objection and any

responses thereto will be held before the Honorable Paul R. Warren, United States Bankruptcy

Judge, at the United States Courthouse for the Western District of New York, 100 State Street,

Rochester, New York on December 9, 2021 at 11:00 a.m. (prevailing Eastern Time) (the

“Hearing”), or as soon thereafter as counsel may be heard.

        PLEASE TAKE FURTHER NOTICE that all affidavits and memoranda in opposition

to the relief requested, if any, shall be in writing and shall be filed with the Clerk’s Office,

United States Bankruptcy Court for the Western District of New York (Rochester Division), and

served upon the undersigned counsel so as to be received no later than 72 hours prior to the

Hearing to consider the Objection.

        PLEASE TAKE FURTHER NOTICE also that:

        UNDER THE ADMINISTRATIVE ORDER DATED DECEMBER 21, 2020,
        REVISING THE NEGATIVE NOTICE PROCEDURES FOR MOTIONS
        BEFORE JUDGE WARREN: IF A PARTY REPRESENTED BY COUNSEL
        INTENDS TO OPPOSE THIS MOTION, WRITTEN OPPOSITION TO THE
        MOTION MUST BE SERVED AND FILED ELECTRONICALLY IN
        CM/ECF NOT LESS THAN 72 HOURS PRIOR TO THE SCHEDULED
        DATE AND TIME OF THE HEARING ON THE MOTION
        (NOTWITHSTANDING RULE 9006(a) FRBP). IN CASES UNDER
        CHAPTERS 7, 12 AND 13, YOU MUST SERVE THE OPPOSING PAPERS
        ON: THE MOVANT AND MOVANT’S COUNSEL, THE DEBTOR AND
        DEBTOR’S COUNSEL (IF NOT THE MOVANT), AND THE TRUSTEE. IN
        CASES UNDER CHAPTER 11, THE OPPOSING PAPERS MUST ALSO BE
        SERVED ON THE CREDITORS’ COMMITTEE AND ITS ATTORNEY,
        OR IF THERE IS NO COMMITTEE, THE 20 LARGEST UNSECURED
        CREDITORS, AND THE UNITED STATES TRUSTEE. IN THE EVENT
        THAT WRITTEN OPPOSITION IS NOT TIMELY SERVED AND FILED,
        NO HEARING WILL BE HELD ON THE MOTION; THE COURT WILL
        CONSIDER THE MOTION TO BE UNOPPOSED.




                                                   2
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Dated: November 1, 2021            PACHULSKI STANG ZIEHL & JONES LLP


                                   /s/ Ilan D. Scharf
                                   Ilan D. Scharf, Esq. (NY Bar No. 4042107)
                                   Jason S. Pomerantz, Esq. (admitted pro hac vice)
                                   Gail S. Greenwood, Esq. (admitted pro hac vice)
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                                   Counsel to the RDC Liquidating Trust




                                      3
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                                   EXHIBIT A




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   Claimant Name       No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                    Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                        Claim           Claim        Objectionable      Claim                      Remaining
                                                         Claim                                        Claim

                                                                                                                              Claim 66 is disallowed.
                                                                                                                              Claim 20208 is not
                                                                                                                Claim 66      affected by the
                                                                                                                and Claim     Objection, but remains
                                                                                                                20208 are     subject to other and
BIOLIFE, LLC             66              $6,134.40             GUC     20208           $6,134.40 GUC            duplicates.   further objection.

                                                                                                                              Claim 138 is disallowed.
                                                                                                                Claim 138     Claim 398 is not affected
                                                                                                                and Claim     by the Objection, but
                                                                                                                398 are       remains subject to other
BRENNAN, JOSEPH E       138            $150,000.00             GUC      398          $150,000.00 GUC            duplicates.   and further objection.


                                                                                                                              Claim 30 is disallowed.
                                                                                                                Claim 30      Claim 135 is not affected
                                                                                                                and Claim     by the Objection, but
DICKSON‐HOWELL                                                                                                  135 are       remains subject to other
PARTNERSHIP              30                $768.00             GUC      135              $768.00 GUC            duplicates.   and further objection.

                                                                                                                            Claim 20027 is
                                                                                                                            disallowed. Claim 72 is
                                                                                                                Claim 20027 not affected by the
HR                                                                                                              and Claim   Objection, but remains
PHARMACEUTICALS                                                                                                 72 are      subject to other and
INC                    20027             $1,004.83             GUC       72            $1,004.83 GUC            duplicates further objection.


                                                                                                                              Claim 153 is disallowed.
                                                                                                                Claim 152     Claim 152 is not affected
                                                                                                                and Claim     by the Objection, but
                                                                                                                153 are       remains subject to other
ITX CORP                153            $103,281.25             GUC      152          $103,281.25 GUC            duplicates.   and further objection.




                       Case 2-20-20230-PRW,   Doc
                                         Exhibit A to1404,     Filed 11/01/21,
                                                      First Objection               Entered 11/01/21 18:58:02,
                                                                      to Duplicate Claims
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  Claimant Name         No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                     Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                         Claim           Claim        Objectionable      Claim                      Remaining
                                                          Claim                                        Claim


                                                                                                                               Claim 34 is disallowed.
                                                                                                                 Claim 34      Claim 61 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 61 are        remains subject to other
JM PARTNERS LLC           34             $33,781.10             GUC       61           $33,781.10 GUC            duplicates.   and further objection.


                                                                                                                               Claim 25 is disallowed.
                                                                                                                 Claim 25      Claim 61 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 61 are        remains subject to other
JM PARTNERS LLC           25             $33,781.10             GUC       61           $33,781.10 GUC            duplicates.   and further objection.


                                                                                                                              Claim 9 is disallowed.
                                                                                                                              Claim 61 is not affected
                                                                                                                 Claim 9 and by the Objection, but
                                                                                                                 Claim 61 are remains subject to other
JM PARTNERS LLC           9              $33,781.10             GUC       61           $33,781.10 GUC            duplicates. and further objection.


                                                                                                                               Claim 29 is disallowed.
                                                                                                                 Claim 29      Claim 71 is not affected
                                                                                                                 and Claim     by the Objection, but
                                                                                                                 71 are        remains subject to other
JOHN G KYLES INC          29              $1,160.04             GUC       71            $1,160.04 GUC            duplicates.   and further objection.


                                                                                                                               Claim 162 is disallowed.
                                                                                                                 Claim 162     Claim 384 is not affected
                                                                                                                 and Claim     by the Objection, but
KONICA MINOLTA                                                                                                   384 are       remains subject to other
BUSINESS SOLUTIONS       162              $5,696.69             GUC      384            $5,696.69 GUC            duplicates.   and further objection.



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                                          Exhibit A to1404,     Filed 11/01/21,
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  Claimant Name       No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                   Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                       Claim           Claim        Objectionable      Claim                      Remaining
                                                        Claim                                        Claim


                                                                                                                             Claim 8 is disallowed.
                                                                                                               Claim 8 and   Claim 373 is not affected
                                                                                                               Claim 373     by the Objection, but
                                                                                                               are           remains subject to other
KVK‐TECH INC            8              $52,512.12             GUC      373           $52,512.12 GUC            duplicates.   and further objection.


                                                                                                                             Claim 91 is disallowed.
                                                                                                               Claim 91      Claim 92 is not affected
                                                                                                               and Claim     by the Objection, but
LONG ISLAND CITY                                                                                               92 are        remains subject to other
CHEMISTS                91              $5,200.36             GUC       92            $5,200.36 GUC            duplicates.   and further objection.


                                                                                                                             Claim 3 is disallowed.
                                                                                                               Claim 3 and   Claim 170 is not affected
                                                                                                               Claim 170     by the Objection, but
NATURES HEALTH                                                                                                 are           remains subject to other
CONNECTION INC          3               $3,240.00             GUC      170            $3,240.00 GUC            duplicates.   and further objection.


                                                                                                                             Claim 54 is disallowed.
                                                                                                               Claim 54      Claim 102 is not affected
                                                                                                               and Claim     by the Objection, but
                                                                                                               102 are       remains subject to other
NEPHRO‐TECH INC         54              $7,650.00             GUC      102            $7,650.00 GUC            duplicates.   and further objection.


                                                                                                                             Claim 371 is disallowed.
                                                                                                               Claim 146     Claim 146 is not affected
                                                                                                               and Claim     by the Objection, but
NEW PHARMACY,                                                                                                  371 are       remains subject to other
THE                    371             $12,686.26             GUC      146           $12,686.26 GUC            duplicates.   and further objection.



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                                        Exhibit A to1404,     Filed 11/01/21,
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  Claimant Name        No. of        Amount of       Classification    No. of       Amount of     Classification Grounds for Disposition if Objection
                    Objectionable   Objectionable     (as filed) of   Surviving   Surviving Claim (as filed) of   Objection        is Granted
                        Claim           Claim        Objectionable      Claim                      Remaining
                                                         Claim                                        Claim


                                                                                                                              Claim 371 is disallowed.
                                                                                                                Claim 146     Claim 146 is not affected
                                                                                                                and Claim     by the Objection, but
NEW PHARMACY,                                                                                                   372 are       remains subject to other
THE                     372             $12,686.26             GUC      146           $12,686.26 GUC            duplicates.   and further objection.


                                                                                                                              Claim 48 is disallowed.
                                                                                                                Claim 48      Claim 130 is not affected
NORTH COAST                                                                                                     and Claim     by the Objection, but
COMPRESSORS D/B/A                                                                                               130 are       remains subject to other
RW LINDSAY               48                $442.80             GUC      130              $442.80 GUC            duplicates.   and further objection.

                                                                                                                            Claim 20012 is
                                                                                                                            disallowed. Claim 20041
                                                                                                                Claim 20012 is not affected by the
                                                                                                                and Claim   Objection, but remains
SHERALVEN                                                                                                       20041 are subject to other and
ENTERPRISES LTD        20012             $2,120.92             GUC     20041           $2,120.92 GUC            duplicates. further objection.


                                                                                                                              Claim 62 is disallowed.
                                                                                                                Claim 62      Claim 369 is not affected
VANDA                                                                                                           and Claim     by the Objection, but
PHARMACEUTICALS                                                                                                 369 are       remains subject to other
INC                      62             $33,800.58             GUC      369           $33,800.58 GUC            duplicates.   and further objection.

                                                                                                                              Claim 43 is disallowed.
                                                                                                                              Claim 20049 is not
                                                                                                                Claim 43      affected by the
                                                                                                                and Claim     Objection, but remains
VERDE                                                                                                           20049 are     subject to other and
TECHNOLOGIES             43                $780.00             GUC     20049             $780.00 GUC            duplicates.   further objection.



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                                         Exhibit A to1404,     Filed 11/01/21,
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                             Hearing Date and Time: December 9, 2021 at 11:00 a.m. (prevailing Eastern Time)


Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Jason S. Pomerantz, Esq. (Admitted pro hac vice)
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Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :           Chapter 11
                                                               :
ROCHESTER DRUG                                                 :           Case No. 20-20230 (PRW)
CO-OPERATIVE, INC. 1                                           :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                         LIQUIDATING TRUSTEE’S
       FIRST OMNIBUS OBJECTION TO DUPLICATE CLAIMS FILED AGAINST
                   ROCHESTER DRUG CO-OPERATIVE, INC.

                    THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE
                            CERTAIN FILED PROOFS OF CLAIM.

      CLAIMANTS RECEIVING THIS OBJECTION SHOULD LOCATE THEIR NAMES
           AND CLAIMS ON EXHIBIT A ATTACHED TO THIS OBJECTION.

        Advisory Trust Group, LLC, the trustee (the “Liquidating Trustee”) of the RDC

Liquidating Trust files this First Omnibus Objection to Duplicate Claims Filed Against

Rochester Drug Co-Operative, Inc. (the “Objection”). Pursuant to the Objection, the Liquidating

Trustee objects to certain claims identified on Exhibit A attached hereto (collectively, the


1
 On February 26, 2021, the Bankruptcy Court entered an order confirming the Second Amended Chapter 11 Plan of
Liquidation (the “Plan of Liquidation”) of Rochester Drug Co-operative, Inc. (“RDC”) which (along with that
certain Liquidating Trust Agreement and Declaration of Trust) established the RDC Liquidating Trust and
empowered it to collect and administer RDC’s Assets and resolve Claims against RDC.


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“Objectionable Claims”) and seeks entry of an order (the “Proposed Order”), substantially in the

form annexed hereto as Exhibit B, disallowing and expunging the Objectionable Claims

pursuant to section 502(b) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the

“Bankruptcy Code”), and Rule 3007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”). In support of this Objection, the Liquidating Trustee submits the

Declaration of David Greenblatt (the “Declaration”), attached hereto as Exhibit C. In further

support of this Objection, the Liquidating Trustee respectfully states as follows:

                                                 Jurisdiction

                 1.          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and the

Standing Order of Reference from the United States District Court for the Western District of

New York, dated February 29, 2012. The Liquidating Trustee confirms its consent, pursuant to

Bankruptcy Rule 7008, to the entry of a final order by the Court in connection with this Objection

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

                 2.          Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 3.          The bases for the relief requested herein are sections 105(a) and 502 of the

Bankruptcy Code, Bankruptcy Rule 3007 and the Local Rules for the United States Bankruptcy

Court for the Western District of New York (the “Local Bankruptcy Rules”).




                                                       2
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                                                 Background

                 4.          On March 12, 2020, Rochester Drug Co-Operative, Inc. (“RDC” or the

“Debtor”) filed a petition under chapter 11 the Bankruptcy Code in the United States Bankruptcy

Court for the Western District of New York (the “Bankruptcy Court”).

                 5.          On March 27, 2020, the Debtor filed its schedules of assets and liabilities

(the “Schedules”) [Docket No. 105] pursuant to Bankruptcy Rule 1007 and the Ex Parte Order

Pursuant to Bankruptcy Rules 1007(c) and 9006(b)(1) Extending the Time to File Schedules of

Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory

Contracts and Unexpired Leases and Statements of Financial Affairs [Docket No. 28].

                 6.          On May 19, 2020, the Bankruptcy Court entered an order authorizing Epiq

Corporate Restructuring, LLC (“Epiq”) to serve as Claims and Noticing Agent [Docket No. 318].

                 7.          On June 15, 2020, the Bankruptcy Court entered an order [Docket No.

401] (the “Bar Date Order”) which, among other things, fixed July 31, 2020 as the date by which

any person or entity holding (a) a Claim against the Debtor that arose or is deemed to have arisen

prior to the Petition Date (the “General Bar Date”), or (b) an administrative expense claim

against the Debtor that arose under section 503(b)(9) of the Bankruptcy Code (the “503(b)(9) Bar

Date”) must file a written proof of claim (a “Proof of Claim”) asserting such claim against the

Debtor. The Liquidating Trustee is informed and believes that the Debtor (or its agents) served

the Bar Date Order, notice of the bar dates and a Proof of Claim form (collectively, the “Bar

Date Notice Package”), upon all parties contemplated by the Bar Date Order. See Certificate of

Service [Docket No. 431].




                                                       3
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                 8.          On December 18, 2020, the Debtor amended certain of its Schedules (the

Amended Schedules”) and gave claimants whose Claims were affected by the amendment until

January 31, 2021 to file Claims [Docket Nos. 1014, 1016].

                 9.          On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming RDC’s Second Amended Chapter 11 Plan of Liquidation (the

“Plan of Liquidation”). Pursuant to the Confirmation Order, the Plan of Liquidation and that

certain Liquidating Trust Agreement and Declaration of Trust (the “Trust Agreement”)

(collectively, the “Plan Documents”), RDC’s Assets were transferred to the RDC Liquidating

Trust which was empowered, among other things, to: (i) collect and administer the Debtor’s

Assets (including Causes of Action) and (ii) resolve Claims against the Debtor and its estate.2

                 10.         The Effective Date of the Plan of Liquidation occurred on March 19,

2021.

                 11.         As of the Effective Date, Advisory Trust Group, LLC was appointed to act

as trustee of the RDC Liquidating Trust.

                 12.         Pursuant to the Plan of Liquidation: (i) the Bankruptcy Court retained

jurisdiction, “[t]o hear and determine objections to the allowance of Claims, whether filed,

asserted or made before or after the Effective Date, including, without limitation, to hear and

determine objections to the classification of Claims and the allowance or disallowance of

disputed Claims, in whole or in part;” and (ii) the Liquidating Trustee “may object to Claims at

any time prior to the dissolution of the [RDC] Liquidating Trust.” Plan of Liquidation,

§ 10.13(d); § 8.14.



2
 The bankruptcy case docket numbers for the applicable documents are as follows: Confirmation Order (Dkt. No.
1257); Plan of Liquidation (Dkt. No. 1145); Notice of Effective Date (Dkt No. 1305). If not defined herein,
capitalized terms have the definitions given to them in the Plan Documents.

                                                       4
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                  13.        On July 16, 2021, the Court granted the Liquidating Trustee’s Motion for

Entry of an Order (I) Discharging Epiq Corporate Restructuring, LLC and (II) Retaining

Bankruptcy Management Solutions, Inc. d/b/a Stretto as the Post-Confirmation Claims Agent

[Docket No. 1384]. Pursuant to that order, Epiq was discharged and Bankruptcy Management

Solutions, Inc. (“Stretto”), now maintains the official claims register.

                                                 Relief Requested

                  14.        By this Objection, the Liquidating Trustee seeks entry of the Proposed

Order pursuant to section 502(b) of the Bankruptcy Code and Bankruptcy Rule 3007(d)(1)3

disallowing and expunging the Objectionable Claims identified on Exhibit A because such

claims are substantively duplicative of other claims filed on account of the same liability or that

are duplicative but have certain differences that do not ultimately affect the relief sought by the

claimants. The latter claims are identified as the “Surviving Claims” on Exhibit A. The

Liquidating Trustee does not object to the Surviving Claims pursuant to this Objection, but

reserves its right to object to the Surviving Claims at a later date.

                  15.        A filed proof of claim is deemed allowed unless a party-in-interest objects.

11 U.S.C. § 502(a).4 If there is an objection to a claim, the bankruptcy court, after notice and a

hearing, shall determine the amount of such claim as of the date of the filing of the petition, and

shall allow such claim in such amount, subject to certain exceptions identified in the statute. 11


3
  Bankruptcy Rule 3007(d)(1) permits a party in interest to file omnibus objections to more than one claim where
“the objections are based solely on the grounds that the claims should be disallowed, in whole or in part, because:
(1) they duplicate other claims.” Fed.R.Bankr.P. 3007(d)(1). Notwithstanding Fed. R.Bankr. Pro. 3007(d), this
Court’s Administrative Order dated December 21, 2020 provides, “Only one claim objection will be allowed per
notice or order unless the objecting party is granted permission by chambers to use another format.” Counsel to the
Liquidating Trustee sought and obtained permission from chambers to file this Omnibus Objection.

4
  Correctly filed proof of claims constitute prima facie evidence of the validity and amount of the claim. In re
Residential Capital, LLC, 524 B.R. 465, 477 (Bankr. S.D.N.Y. 2015); Fed. R. Bank. P. 3001(f). If an objection
refuting at least one of the claim's essential allegations is asserted, the claimant has the burden to demonstrate the
validity of the claim. In re Ditech Holding Corp., 2021 Bankr. LEXIS 1299, *10 (Bankr. S.D.N.Y. May 13, 2021).

                                                           5
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U.S.C. § 502(b). One such exception is that the court shall not allow a claim if “such claim is

unenforceable against the debtor and property of the debtor, under any agreement or applicable

law for a reason other than because such claim is contingent or unmatured.” 11 U.S.C. §

502(b)(1).

                 16.         “Claims which are clearly the result of duplication rather than independent

rights to recovery are unenforceable, in whole or in part, to the extent of the duplication.” In re

Budd Co., 2015 Bankr. LEXIS 4270, * 7 (Bankr. N.D. Ill. Dec. 16, 2015); In re Pierport Dev. &

Realty, Inc., 491 B.R. 544, 547 (Bankr. N.D. Ill. 2013) (“A claim that seeks duplicate recovery

for the same debt is partially unenforceable to the extent of the duplication.”); In re Residential

Capital, LLC, 524 B.R. at 471 (noting prior disallowance of duplicate claim); In re MF Glob.

Holdings Ltd., 2012 Bankr. LEXIS 5297 at *1 (Bankr. S.D.N.Y. Nov. 13 2012) ((noting prior

disallowance of duplicate claim).

                 17.         As set forth in more detail on Exhibit A, each Objectionable Claim is

duplicative of another proof of claim filed by or on behalf of the same claimant in respect of the

same liability (i.e., the Surviving Claim). To allow both the Objectionable Claim and the

Surviving Claim would result in a double recovery to the claimant to the detriment of other

claimants. Accordingly, the Liquidating Trustee moves to disallow each Objectionable Claim in

its entirety.

                                            Reservation of Rights

                 18.         This Objection is limited to the grounds stated herein. Accordingly, it is

without prejudice to the rights of the Liquidating Trustee or any other party in interest to object to

any of the Objectionable Claims (to the extent not disallowed and expunged pursuant to this

Objection) on any grounds whatsoever, and the Liquidating Trustee expressly reserves all further



                                                       6
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substantive or procedural objections it may have. In addition, as is noted on Exhibit A, by this

Objection, the Liquidating Trustee seeks to disallow only the Objectionable Claims and does not

seek to affect the corresponding Surviving Claims but reserves its right to bring other and further

objections to the Surviving Claims on any and all grounds.

                                                    Notice

                 19.         Pursuant to this Court’s Administrative Order dated December 21, 2020,

the Objection will be served and electronically filed at least 30 days prior to the return date and

time, and service on the claimants holding the Objectionable Claims will comply with Fed. R.

Bankr. P. 7004.

                 20.         In addition, the Liquidating Trustee will provide notice of this Objection

to: (a) the Office of the United States Trustee, 100 State Street, Room 6090, Rochester, New

York, Attn: Kathleen Dunivin Schmitt; (b) counsel to RDC; (c) the twenty largest unsecured

creditors; (d) Bankruptcy Management Solutions, Inc., and (e) all parties that have filed a request

to receive service of court filings pursuant to Bankruptcy Rule 2002.

        WHEREFORE, for the reasons stated in the Objection, the Liquidating Trustee

respectfully requests that the Court sustain the Objection, disallow each of the Objectionable

Claims listed on Exhibit A and grant such other relief as the Court deems just and proper.

Dated: November 1, 2021                            PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ Ilan D. Scharf
                                                   Ilan D. Scharf, Esq. (NY Bar No. 4042107)
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                                                   Counsel to the RDC Liquidating Trust


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